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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

IAS SERVICES GROUP, LLC,                            §
      Plaintiff/Counter-Defendant,                  §
                                                    §
v.                                                  §
                                                    §       Civil Action No. 5:14-cv-180-FB
JIM BUCKLEY & ASSOCIATES, INC.;                     §
JAMES BUCKLEY, Individually and as                  §
Co-Trustee of the Buckley Family                    §
Trust dated 06/21/2014, and BARBARA                 §
BUCKLEY, Individually and as Co-Trustee             §
of the Buckley Family Trust dated 06/21/2014,       §
        Defendants/Counter-Plaintiffs.              §


              JOINT REPORT ON ALTERNATIVE DISPUTE RESOLUTION

TO THE HONORABLE COURT:

       Plaintiff/Counter-Defendant     IAS    Services    Group,    LLP     (“IAS”)    and    the

Defendants/Counter-Plaintiffs (the “JBA Parties”) file this Joint Report on Alternative Dispute

Resolution pursuant to Local Rule CV-88 and the Court’s Scheduling Order Following Remand,

and would respectfully show the following:

       1.      The parties are engaging in on-going settlement negotiations and believe that

alternative dispute resolution is appropriate in this case. The person responsible for settlement

negotiations on behalf of IAS is its CEO Larry Cochran, along with counsel. The person

responsible for settlement negotiations on behalf of the JBA Parties is Jim Buckley, along with

counsel.

       2.      The parties have agreed to conduct a mediation in San Antonio, Texas on March

28, 2019, with Mediator Don Philbin. The parties are splitting the cost of Mr. Philbin’s services.

Both Mr. Cochran and Mr. Buckley plan to attend this mediation in person.
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       3.      In addition, the parties will exchange written settlement offers and responses, as

required by the Court’s Scheduling Order Following Remand.

Dated: March 15, 2019                               Respectfully submitted,



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                                  Attorneys for Defendants and Counter-
                                  Plaintiffs JBA Parties




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